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                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Anthony Safford, being first duly sworn, hereby depose and state as follows:

                     INTRODUCATION AND AGENT BACKGROUND

       1.      I am a Special Agent (SA) with the Department of Homeland Security, Homeland

Security Investigations (HSI), and have been so employed since January of 2023. As part of my

duties as an HSI SA, I investigate criminal violations relating to child exploitation including

violations pertaining to the illegal production, distribution, receipt, and possession of child

pornography, in violation of 18 U.S.C. §§ 2251, 2252, 2251A, 2252A, and 2260, the sexual abuse

of children in violation of 18 U.S.C. §§ 2422 and 2243, and the sex trafficking of children in

violation of 18 U.S.C. § 1591. I have received training in child pornography and child exploitation

investigations and have had the opportunity to observe and review examples of child pornography

(as defined in 18 U.S.C. § 2256) in different forms of media including computer media. Prior to

my appointment as a SA with HSI, I was employed as a Special Agent with the Internal Revenue

Service, Criminal Investigation (IRS CI) for one year, where it was my duty to investigate tax

fraud, money laundering and public corruption. Before becoming an SA with IRS CI, I was a

Deportation Officer with Immigration and Customs Enforcement, Enforcement and Removal

Operations for two years. As a Deportation Officer, it was my job to enforce the criminal and

administrative provisions of Title 8 of the United States Code and Title 18 of the United States

Code as they relate to immigration. I have conducted and participated in a wide array of criminal

investigations. In addition to my investigative experience, I have received over 2,000 hours of

investigative and law enforcement training from the Federal Law Enforcement Training Center.

My investigative experience detailed herein, as well as my training, and the investigative

experience of other officers who have participated in this investigation, serve as the basis for the

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conclusions set forth herein. I am a law enforcement officer of the United States, within the

meaning of Section 115(c)(1) of Title 18 of the United States Code, who is “authorized by law or

by government agency to engage in or supervise the prevention, detection, investigation or

prosecution of any violation of Federal Criminal Law.” Moreover, I am a federal law enforcement

officer who is engaged in enforcing the criminal laws, including 18 U.S.C. § 2252. I am an

“investigative or law enforcement officer” of the United States within the meaning of Section

2510(7) of Title 18, United States Code, and am empowered by law to conduct investigations of,

and to make arrests for, offenses enumerated in Section 2516 of Title 18, United States Code.

       2.      This affidavit is being submitted for the limited purpose of establishing probable

cause to believe that Seth Jacob SCHWERIN, date of birth XX/XX/1993 (hereinafter

SCHWERIN), has committed violations of 18 U.S.C. §§ 2252(a)(1), transportation of a visual

depiction of a minor engaged in sexually explicit conduct; 2252(a)(2), receipt and distribution of

visual depictions of minors engaged in sexually explicit conduct; and 2252(a)(4)(B), possession

of visual depictions of minors engaged in sexually explicit conduct.

       3.      The statements contained in this affidavit are based upon my personal knowledge

and observations, my training and experience, conversations with other law enforcement officers

and witnesses, and the review of documents and records. This affidavit includes only those facts

that I believe are necessary to establish probable cause and does not include all the facts

uncovered during the investigation.

                                    RELEVANT STATUTES

       4.      There is probable cause to believe that SCHWERIN committed violations of the

following statutes:



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       a. 18 U.S.C. § 2252(a)(1) and (b)(1) prohibit any person from knowingly

          transporting or shipping, or attempting or conspiring to transport or ship, any

          visual depiction using any means or facility of interstate or foreign commerce,

          or in or affecting interstate or foreign commerce, by any means, including by

          computer or mail, if the production of such visual depiction involved the use

          of a minor engaging in sexually explicit conduct and such visual depiction is

          of such conduct.


       b. 18 U.S.C. § 2252(a)(2) and (b)(1) prohibit any person from knowingly

          receiving or distributing, or attempting or conspiring to receive or distribute,

          any visual depiction using any means or facility of interstate or foreign

          commerce, or that has been mailed or shipped or transported in or affecting

          interstate or foreign commerce, or which contains materials which have been

          mailed or so shipped or transported, by any means including by computer, or

          knowingly reproducing any visual depiction for distribution using any means

          or facility of interstate or foreign commerce, or in or affecting interstate or

          foreign commerce or through the mails, if the production of such visual

          depiction involved the use of a minor engaging in sexually explicit conduct

          and such visual depiction is of such conduct.

       c. 18 U.S.C. § 2252(a)(4)(B) and (b)(2) prohibit any person from knowingly

          possessing or accessing with the intent to view, or attempting or conspiring to

          possess or access with the intent to view, one or more books, magazines,

          periodicals, films, video tapes, or other matter which contain any visual

          depiction that has been mailed, or has been shipped or transported using any
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          means or facility of interstate or foreign commerce or in or affecting interstate

          or foreign commerce, or which was produced using materials which have been

          mailed or so shipped or transported, by any means including by computer, if

          the production of such visual depiction involved the use of a minor engaging

          in sexually explicit conduct and such visual depiction is of such conduct.


                                DEFINITIONS

5.     The following definitions apply to this Affidavit and its Attachments:

       a. The term “minor,” as defined in 18 U.S.C. § 2256(1), refers to any person

          under the age of eighteen years.

       b. The term “sexually explicit conduct,” used generally, 18 U.S.C. §

          2256(2)(A)(i-v), is defined as actual or simulated (a) sexual intercourse,

          including genital-genital, oral-genital, anal-genital, or oral-anal, whether

          between persons of the same or opposite sex; (b) bestiality; (c) masturbation;

          (d) sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals or

          pubic areas of any person.

       c. For the purposes of this affidavit, “Child Sexual Abuse Material,” abbreviated

          as CSAM, means any material in any form at which depicts a minor engaged

          in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2)(A)(i-v).

          CSAM has the same meaning as the term “child pornography.”

       d. The term “visual depiction,” as defined in 18 U.S.C. § 2256(5), includes

          undeveloped film and videotape, data stored on computer disc or other

          electronic means which is capable of conversion into a visual image, and data

          which is capable of conversion into a visual image that has been transmitted
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          by any means, whether or not stored in a permanent format.

       e. The term “computer,” as defined in 18 U.S.C. §1030(e)(1), means an

          electronic, magnetic, optical, electrochemical, or other high-speed data

          processing device performing logical, arithmetic, or storage functions, and

          includes any data storage facility or communications facility directly related to

          or operating in conjunction with such device. Computers are physical units of

          equipment that perform information processing using a binary system to

          represent information. Computers include, but are not limited to, desktop and

          laptop computers, smartphones, tablets, smartwatches, and binary data

          processing units used in the operation of other products like automobiles.

       f. A “wireless telephone” (or mobile telephone, or cellular telephone, or just cell

          phone) is a handheld wireless device used for voice and data communication

          through radio signals. These telephones send signals through networks of

          transmitter/receivers, enabling communication with other wireless telephones

          or traditional “land line” telephones. A wireless telephone usually contains a

          “call log,” which records the telephone number, date, and time of calls made

          to and from the phone. In addition to enabling voice communications,

          wireless telephones offer a broad range of capabilities. These capabilities

          include storing names and phone numbers in electronic “address books;”

          sending, receiving, and storing text messages and e-mail; taking, sending,

          receiving, and storing still photographs and moving video; storing and playing

          back audio files; storing dates, appointments, and other information on

          personal calendars; and accessing and downloading information from the

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          Internet. Wireless telephones may also include global positioning system

          (“GPS”) technology for determining the location of the device.

       g. “Internet Service Providers” (ISPs), as used herein, are commercial

          organizations that are in business to provide individuals and businesses access

          to the Internet. ISPs provide a range of functions for their customers

          including access to the Internet, web hosting, e- mail, remote storage, and co-

          location of computers and other communications equipment.

       h. “Internet Protocol address” (IP address), as used herein, is a code made up of

          numbers and/or letters separated by dots that identifies a particular computer

          on the Internet. Every computer requires an IP address to connect to the

          Internet. IP addresses can be dynamic, meaning that the ISP assigns a

          different unique number to a computer every time it accesses the Internet. IP

          addresses might also be static, if an ISP assigns a user’s computer a particular

          IP address which is used each time the computer accesses the Internet. A

          creation IP address is the address used on the date that an e-mail or other

          account is created by the user.

       i. The “International Mobile Equipment Identity” or IMEI is a 15-17-digit

          number that is given to every mobile phone. This number is used by service

          providers to uniquely identify valid devices. The IMEI can provide

          information about the country and network from which a device originated,

          the warranty, carrier information, and more similar details.

       j. The “International Mobile Subscriber Identity” (IMSI) is a unique number up

          to 15 digits which is assigned to a subscriber on a mobile network. Mobile

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                   network operators use IMSI to identify a subscriber’s country, mobile

                   network, and phone number, among other things.


                                        BACKGROUND ON KIK

           6.   Kik is a free service that is downloaded from the Internet. Kik Messenger

(hereinafter “Kik”) advertises itself as “the first smartphone messenger with a built-in browser.”

Kik allows users to talk to their friends, browse and share any web site with a Kik user’s friends.

According to the website, Kik offers a simple, fast, most life-like chat experience you can get on

a smartphone. Unlike other messengers, Kik usernames - not phone numbers - are the basis for

Kik user accounts, so Kik users are in complete control with whom they communicate. In

addition, Kik features include more than instant messaging. Kik users can exchange images,

videos, sketches, stickers and even more with mobile web pages.

           7.   The Kik app is available for download via the App Store for most iOS devices

such as iPhones and iPads. Additionally, the Kik app is available on the Google Play Store for

Android devices. Kik can be used on multiple mobile devices, to include cellular phones and

tablets.

           8.   In general, providers like Kik ask each of their subscribers to provide certain

personal identifying information when registering for an account. This information can include

the subscriber’s full name, physical address, and other identifiers such as an e-mail address.

           9.   Providers typically retain certain transactional information about the creation and

use of each account on their systems. This information can include the date on which the

account was created, the length of service, records of log-in (i.e., session) times and durations,

the types of service utilized, the status of the account (including whether the account is inactive

or closed), the methods used to connect to the account, and other log files that reflect usage of
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the account. In addition, providers often have records of the Internet Protocol address (“IP

address”) used to register the account and the IP addresses associated with particular logins to

the account. Because every device that connects to the Internet must use an IP address, IP

address information can help to identify which computers or other devices were used to access

the account.

       10.     In some cases, account users will communicate directly with a provider about

issues relating to their account, such as technical problems or complaints from other users.

Providers typically retain records about such communications, including records of e-mails and

other contacts between the user and the provider’s support services, as well records of any

actions taken by the provider or user as a result of the communications.

       11.     As explained below, information stored at MediaLab.ai Inc., parent company of

KIK, including that described above, may provide crucial evidence of the “who, what, why,

when, where, and how” of the criminal conduct under investigation. In my training and

experience, the data pertaining to an account that is retained by a provider like Kik can indicate

who has used or controlled the account. This “user attribution” evidence is analogous to the

search for “indicia of occupancy” while executing a search warrant at a residence. For example,

data collected at the time of account sign-up- and other communications (and the data associated

with the foregoing, such as date and time) may indicate who used or controlled a Kik account at

a relevant time. Further, such stored electronic data can show how and when the account was

accessed or used. Such “timeline” information allows investigators to understand the

chronological context of the usage of an account, account access, and events relating to the crime

under investigation. This “timeline” information may tend to either inculpate or exculpate the

user of a Kik account. Additionally, stored electronic data may provide relevant insight into the

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state of mind of the user of a phone number as it relates to the offense under investigation. For

example, information relating to a particular Kik account may indicate the user’s motive and

intent to commit a crime (e.g., communications relating to the crime), or consciousness of guilt

(e.g., deleting communications in an effort to conceal them from law enforcement).

        12.     Kik offers users the ability to create an identity within the app referred to as an

“username.” This username is unique to the account and cannot be changed. No one else can

utilize the same username. A Kik user would have to create a new account in order to obtain a

different username. The username for a particular Kik account holder is generally displayed in

their Kik profile.

        13.     In October 2019, Kik, formerly headquartered in Canada, was purchased by

MediaLab.ai Inc., a company operating in the United States in California.

                                 Information Regarding NCMEC

        14.     The National Center for Missing and Exploited Children (NCMEC) was

incorporated in 1984 by child advocates as a private, non-profit organization to serve as a

national clearinghouse and resource center for families, victims, private organizations, law

enforcement, and the public on missing and sexually exploited child issues. To further their

mission to help find missing children, reduce child sexual exploitation, and prevent future

victimization, NCMEC operates the Cyber Tipline and Child Victim Identification Programs.

NCMEC makes information submitted to the Cyber Tipline and Child Victim Identification

Programs available to law enforcement and uses this information to help identify trends and

create child safety and prevention messages. As a national clearinghouse, NCMEC also works

with Electronic Service Providers (ESPs), law enforcement, and the public in a combined effort

to reduce online child sexual abuse material.

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         15.     Companies that suspect child pornography has been stored or transmitted on their

systems report that information to NCMEC in a CyberTipline Report (or “CyberTip”). The ESP

submits the report and uploads content to NCMEC via a secure connection, which in turn, assists

NCMEC in trying to identify the victims depicted. Using publicly available search tools,

NCMEC then attempts to geo-locate where the activity occurred based on the information the

ESP submits, such as IP addresses. NCMEC then packages the information from the ESP along

with any additional information it has, such as previous related CyberTips, and sends it to law

enforcement in the jurisdiction where the activity is believed to have occurred.

                         INVESTIGATION AND PROBABLE CAUSE

                                  Undercover Communications

         16.     On December 2, 2024, an HSI Detroit undercover agent (UCA) was conducting an

undercover chat investigation on Kik. The UCA was portraying himself as the father of an 8-year-

old girl. As part of this investigation, the UCA was part of a publicly available chat group on KIK

with a chat group name indicative of incest.1

         17.     While in the KIK chat group, Kik user fundaddd08, also referred to herein as

TARGET ACCOUNT 1, asked the group if anyone was in Ohio. TARGET ACCOUNT 1 later

sent another message asking, “Anyone else in Ohio or nearby? Wanna hang out? Daughter is 8

here.”

         18.     The UCA also observed another message from a different Kik user which was an

invitation for a private chat group. The UCA joined this group and again noticed that TARGET




1
    The names of chat groups are known but not disclosed herein.
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ACCOUNT 1 was also a member of this private chat room. While in that private chat room, the

UCA reported that other users were posting images and videos of suspected and obvious child

sexual abuse material (CSAM) or child pornography. Between December 3-5, 2024, the UCA

reported seeing several images and videos posted by TARGET ACCOUNT 1. Specifically, one

image showed a prepubescent girl, approximately 5-8 years old, wearing long socks, leaning back

on the floor, with her vagina and anus exposed. TARGET ACCOUNT 1 also uploaded a 29-

second video of a young prepubescent girl approximately 8-12 years old, naked form the waist

down and masturbating with her fingers.

       19.     The UCA was also a member of another Kik chat group and again noted that

TARGET ACCOUNT 1 was also a member. The UCA reported that TARGET ACCOUNT 1

posted an image that depicts an approximately 7-10-year-old girl, naked, holding a bottle of clear

liquid, and her vagina exposed.

       20.




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       21.    On December 4, 2024, HSI Detroit sent KIK a summons for subscriber info related

to TARGET ACCOUNT 1, “fundaddd08.” On December 7, 2024, Kik responded to the summons

with the following information:

          Date: December 7, 2024
          First Name: fundaddd08
          Last Name: (blank)
          Registration Email: schwerinseth@gmail.com (unconfirmed)
          Username: fundaddd08
          IP address: 69.133.3.232
       22.    On December 9, 2024, HSI Detroit sent a summons to Internet Service Provider

(ISP), Charter Communications Inc., for subscriber information related to IP address 69.133.3.232

for December 2, 2024, at 9:26 Greenwich Meant Time (GMT) (also known as Zulu time or

coordinated universal time (UTC)). On December 12, 2024, Charter Communications responded

and provided the following information:

          Subscriber Name: Seth SCHWERIN

          Service Address: 7 Summerplace Drive, Wapakoneta, OH 45895-1834

          User Name or Features: 5675251828@charter.net, S.J.Schwerin04@gmail.com, and
          Schwerinseth@gmail.com

          Start Date: 09/15/2024 at 04:26 PM

          End Date: 12/10/2024 at 10:07 AM

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                                                Cyber Tipline Reports

         23.       On December 13, 2024, MediaLab, aka Kik, submitted Cyber Tipline Report (CT)

203508826 to the National Center for Missing and Exploited Children (NCMEC), reporting that

38 files of CSAM had been uploaded to Kik between December 3, and December 12, 2024, by

TARGET ACCOUNT 1, fundaddd08. Kik indicated that each file was sent by TARGET

CCOUNT 1 to another user in a private chat or to other users in a group chat. Kik reported that the

home email address on the Kik user was schwerinseth@gmail.com. Multiple IP addresses were

used, including IP address 69.133.3.232 which was associated to three CSAM files uploads. This

was the same IP address used to distribute the child pornography to the UCA in this case and that

came back to Seth SCHWERIN at his residence. Affiant viewed 33 files2 of suspected CSAM; 24

of the files depict a minor engaged in sexually explicit conduct, as defined in 18 U.S.C. §

2256(2)(A). A description of one of the files is as follows:

                   a. Ed2f534e8214be1c38d321d1c1897602

                             This file is a 26-second video depicting a prepubescent minor, naked from

                             the waist down and lying on her back with her legs spread, exposing her

                             vagina. An adult male presses and rubs his erect penis against the minor’s

                             naked vagina and eventually ejaculates over her vagina. At one point, the

                             camera pans over the minor’s face and full body.




2
  Only 33 from CT 203508826 were available to Affiant. Some of the files may be duplicates that were distributed to different
users or groups on KIK.

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           24.       On January 3, 2025, while conducting database research and open-source

intelligence research, a program which queries previously filed NCMEC CTs was utilized. When

the IP address 69.133.3.232 was used as the search term, another CT was located. On November

1, 2024, NCMEC received CT 201849837 from Kik which alleged that the user taste.ur.vag,

hereinafter TARGET ACCOUNT 2, uploaded five files of CSAM. The CT indicated that the files

were sent from TARGET ACCOUNT 2 to another user via private message. Affiant viewed three3

files of suspected CSAM; two of the files depict a minor engaged in sexually explicit conduct. A

description of one of the files is as follows:

                     a. 93002a8a45b3cfbb4cef99de7011864f

                              A video file 11 seconds in duration. The video file depicts a minor who is

                              naked from the waist down and her vagina is completely visible. The minor

                              has narrow hips, no pubic hair, shaved or otherwise, and a high-pitched

                              voice. In the video the minor is lying on her back and an adult male inserts

                              his erect penis into her vagina and engages in intercourse until the minor

                              pulls away.

           25.       On January 3, 2025, an analyst from the Ohio Internet Crimes Against Children

Task Force (ICAC) sent Charter communications an exigent request for the subscriber information

for two of the IP addresses from CT 201849837: 69.133.3.232: port 59196 on October 27, 2024,

at 23:43:48 universal coordinate time (UTC), and 69.133.3.232: port 61636 on October 31, 2024,

at 18:31:38 UTC. Similarly to the summons that HSI Detroit sent to Charter Communications for




3
    Only 3 files from CT 201849837 were available to your Affiant.

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the IP addresses from the undercover communications with TARGET ACCOUNT 1, the

responsive information, which was received that same day, listed the subscriber as Seth

SCHWERIN, 7 Summerplace Drive, Wapakoneta, Ohio 45895.

       26.      Many of the IP addresses from the two CTs from Kik belonged to Verizon Wireless.

On January 3, 2025, the same analyst from ICAC sent Verizon Wireless an exigent request for one

of the Verizon Wireless IP addresses, but Verizon indicated that it was unable to determine a

specific user because the IP addresses were part of a Network Address Translation (NAT), which

allows multiple devices to be connected to one public IP address, common for devices connected

to a cellular network, such as a cell phone.

       27.      A database housing Ohio driver’s license records was queried and SCHWERIN’s

driver’s license record was located. The driver’s license record included the following information:

name: Seth Jacob SCHWERIN; date of birth: XX/XX/1993; and social security number: XXX-

XX-1861. The address listed was 7 Summerplace Drive, Wapakoneta, Ohio 45895, the same

address listed on the records from Charter Communications for the subscriber of the IP address

69.133.3.232.

                          Search Warrant of 7 Summmerplace Drive

       28.      On the evening of January 3, 2025, members of HSI Cleveland, ICAC, the Ohio

Bureau of Criminal Investigation, Wapakoneta Police Department, and the Auglaize County

Sheriff's Office executed a residential search warrant at 7 Summerplace Drive, Ohio, 45895. Law

enforcement encountered SCHWERIN, SCHWERIN’s significant other, and three minor children

at the residence.

       29.      During the search warrant, SCHWERIN was interviewed and admitted that he lived

at the residence, his phone number was 419-231-2471, hereinafter the SUBJECT PHONE, and his
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email was schwerinseth@gmail.com, the same email in the CyberTip involving Kik user

fundaddd08. SCHWERIN said he worked as a semi-truck driver for Buschur Custom Farms.

SCHWERIN’s trips are mostly day trips, that is, he departs and returns home in the same day, but

he occasionally has overnight trips where he will spend at least one night away from home in

transit. SCHWERIN denied knowledge of the KIK TARGET ACCOUNTS 1 and 2 and denied

child pornography activity. He did, however, admit in that interview that he had once had a Kik

account, although he claimed it was several years prior. It should be noted that in his subsequent

polygraph interview that day, SCHWERIN then admitted that he had in fact, downloaded Kik

more recently (two months earlier) but claimed he deleted it the same day without logging on or

creating a new Kik account.

       30.     During the search, electronic devices were discovered, triaged and searched on site.

None of the electronic devices searched on site were found to have CSAM. Some of the electronic

devices, to include an Apple iPhone 15 Pro Max, were seized pursuant to the warrant.


                              Search Warrants for KIK Accounts

       31.     On January 3, 2025, the Honorable United State Magistrate Judge Darrell A. Clay

of the Northern District of Ohio signed and issued a federal search warrant (see 25mj5005) for the

contents and communications of the KIK accounts fundaddd08, TARGET ACCOUNT 1, and

taste.ur.vag., TARGET ACCOUNT 2. MediaLab.ai/KIK was served the search warrant on

January 4, 2025, and produced the requested records and information that same day.

       32.     The records from Kik included approximately 129 media files which Affiant

viewed. Of those, 26 files, 24 from fundaddd08 and 2 from taste.ur.vag., depict a minor engaged

in sexually explicit conduct. A description of one of those files is as follows:


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               a. 8019a198-5ec9-4053-9f08-83a73c0fad

                      A video file one minute and 36 seconds in duration. The video depicts a

                      prepubescent minor female, naked, with her vagina and anus exposed to the

                      camera. The minor is posed on her knees and elbows facing away from the

                      camera and her backside is facing the camera. During parts of the video,

                      you can see her face through the gap in her legs. During the video, an adult

                      female performs oral sex on the minor’s vagina and penetrates and

                      stimulates the minor’s vagina with a sex toy.

       33.     Numerous images and videos contained in the CTs are also contained in the Kik

records responsive to the search warrant. The media files from both TARGET ACCOUNT 1 and

TARGET ACCOUNT 2 included images of SCHWERIN.

       34.     The Kik contents responsive to the search warrant included the chat message

communications sent and received by TARGET ACCOUNTS 1 and 2. The messages reviewed

are consistent with the production, distribution and receipt of material depicting minors engaged

in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2)(A). The chats reveal that the user

of the target accounts has a father-daughter sexual fantasy and is interested in other individuals

with daughters. Some excerpts of the chats are contained below:

               a.




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       b.




       c.




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              d.




4
 Files received by the target accounts were not included in the KIK records, only those which
were sent by the target accounts.
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               e.




       35.     The Kik contents responsive to the search warrant included logs which show the

files distributed by TARGET ACCOUNTS 1 and 2, the Kik user those accounts distributed the

file to, the IP address used to distribute the file, and the date and time the file was sent. The Kik

logs show that approximately 77 of the 83 files distributed from specifically TARGET ACCOUNT

1 were distributed using Verizon Wireless IP addresses. The 3 files of CSAM distributed from

TARGET ACCOUNT 2 were distributed from Verizon Wireless IP addresses.

       36.     SCHWERIN’s employer, Buschur Custom Farms, provided law enforcement with

SCHWERIN’s work schedule. SCHWERIN’s work schedule showed the days he worked or drove

on work trips. Affiant reviewed those records and cross-referenced them to the Kik records/logs

and the two CyberTipline Reports.



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         37.      Every time TARGET ACCOUNT 1 distributed a media file (whether CSAM or

not), it coincided with a day SCHWERIN was scheduled to drive on a work trip. Every time

TARGET ACCOUNT 2 distributed a file depicting specifically CSAM, it coincided with a day

SCHWERIN was scheduled to work/drive on a work trip.

         38.      The aforementioned Kik logs detail the file, receiver, IP address, and date and time

it was sent but do not include the port that a device used to connect to an IP address. Verizon

Wireless requires a port number to determine which user, or in this case which cell phone number,

used the IP address in question due to the IP address using the NAT to allow multiple phone

numbers to utilize one IP address. The Kik records include the chat messages that the TARGET

ACCOUNTS sent. The records detailing those chat messages list the IP address and port number

associated with each message sent. Affiant was able to locate messages close in time to 11 CSAM

files which were sent by the TARGET ACCOUNTS, as well as messages close in time to IMAGE

B.5

         39.      On January 8, 202, Affiant sent a subpoena to Verizon Wireless for the cell phone

number and subscriber information associated with 16 IP addresses and port numbers. That same

day, Verizon Wireless provided the requested records. All 16 IP addresses come back to 419-231-

2471, the phone number SCHWERIN admitted was his (hereinafter referred to as the SUBJECT

PHONE). The records list device information to include the International Mobile Equipment

Identity (IMEI): 354068588595420, and the International Mobile Subscriber Identity (IMSI):




5
  IMAGE B is described in paragraph 20 and was one of the images that the KIK TARGET ACCOUNT 1 user
distributed to the UCA in this investigation. IMAGE B depicts an adult male pressing his erect penis against the
naked vagina of a prepubescent minor.

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311480101752535. The records further indicate that the phone number was activated on the

Verizon Wireless network on August 24, 2024. The subscriber was listed as Sheryl Schwerin, later

determined to be SCHWERIN’s mother, at an address in Huntsville, Ohio.

       40.     Affiant later discovered that the port numbers for every file of CSAM uploaded or

distributed by TARGET ACCOUNT 1 and 2 were included in the Cyber Tipline Reports (CT).

The records from Verizon did not include a single point in time and a single port number but rather

showed the entire timeframe the SUBJECT PHONE used a particular IP address, and the entire

range of port numbers used during that timeframe. For instance, one of the IP addresses and dates

and times Affiant subpoenaed Verizon for was 174.196.96.179 and port 62821 on October 25,

2024 at 15:21:04 UTC. While the Verizon records did not just show which phone number used

that IP address on that exact queried date and time, they showed that the SUBJECT PHONE used

that IP address from October 24, 2024, 16:52 UTC, to October 29, 2024, 13:07 UTC, and used

port numbers 62816 to 62847 during that period.


                                      Computer Forensics

       41.     Forensic analysis of the Apple iPhone 15 Pro Max belonging to SCHWERIN and

that was seized during execution of the residential search warrant revealed the following:

               a. The phone number assigned to SCHWERIN’s phone is 419-231-2471, the

                   SUBJECT PHONE.

               b. The IMEI is 354068588595420, the same IMEI from the Verizon Wireless

                   records responsive to a subpoena querying the IP addresses from the Kik

                   activity. There were three IMSIs listed, including 311480101752535, which

                   was also present in the Verizon Wireless records.


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                 c. There were numerous images of SCHWERIN’s face, as well as a picture of his

                     driver’s license. One cached image file found on the phone depicts an

                     approximately 10-12-year-old minor performing oral sex on an adult penis.

                 d. The following are just some of the search terms found on SCHWERIN’s phone:

                               i. “daughter gives dad a blowjob”

                              ii. “daughter giving blowjob”

                             iii. “daughter sucking dads big dick”

                             iv. “step daughter blowjob”

                              v. “mom.gives son a blowjob” [sic]

                             vi. “daughter sucking off dad”

                 e. The forensic examiner did not locate the Kik app on the phone but did locate

                     Kik artifacts proving that it had been downloaded to the phone at some point

                     and that TARGET ACCOUNT 1 had been used on the phone. In SCHWERIN’s

                     Apple Keychain,6 he had the Kik account fundaddd08, TARGET ACCOUNT

                     1, which was created on December 2, 2024. The email account on the phone

                     was schwerinseth@gmail.com. The forensic examiner also found an email

                     from Kik dated December 2, 2024 that said, “Welcome to Kik!” and, “Your

                     username is: fundaddd08.” It should be noted that the Kik child pornography

                     activity reported in CyberTipline Report 203508826 occurred on various dates




6
  Apple Keychain is a phone application on Apple devices that stores usernames and passwords to the user’s various
accounts.
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                  beginning on that very same date (December 2, 2024) and continued until

                  December 12, 2024.

         42.   Forensic analysis of the phone revealed GPS coordinates for various dates and

times.

                                    Summons to Google

         43.   On January 13, 2025, Google was summonsed for the subscriber and IP address

information for Google account, schwerinseth@gmail.com (the email used to sign up for TARGET

ACCOUNT 1 and same email on SCHWERIN’s phone), and s.j.schwerin04@gmail.com (the

email used for SCHWERIN’s Apple account on his Apple iPhone 15 Pro Max). On January 20,

2025, Google provided the requested records.

         44.   The subscriber information for schwerinseth@gmail.com was:

                      name: Seth Schwerin
                      phone: 419-231-2471
                      recovery email address: s.j.schwerin04@gmail.com.
         45.   The subscriber information for s.j.schwerin04@gmail.com was:

                      name: Seth Schwerin
                      phone: 812-621-6796


                                 GPS Data from Employer

         46.   On January 15, 2025, Affiant interviewed SCHWERIN’s employer, David

Buschur, the President of Buschur Custom Farms which provides farms with logistical and

transportation services. SCHWERIN was employed as a truck driver and usually transported

livestock between farms, or farm waste to dump sites. Most of SCHWERIN’s trips were day trips




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where he left home and returned home in the same day, although he occasionally drove on

overnight trips where he spent at least one night away from home.

       47.     Buschur advised that his company used a program that allowed him to track his

semi-trucks using Global Positioning System (GPS) data. This program allows Buschur to view in

live time where his trucks are and to view historical data of where his trucks have been. Buschur

advised that he maintained a detailed list of his employees’ schedules, including SCHWERIN’s

work schedule from the time he began working for him, as well as the GPS data for every trip

SCHWERIN went on, thus, enabling him to account for SCHWERIN’s whereabouts whenever he

was driving one of Buschur’s trucks.

       48.     Buschur provided SCHWERIN’s location for the date and time of each CSAM

upload from the two KIK TARGET ACCOUNTS.

                            Summons to Charter Communications

       49.     On January 21, 2025, Charter Communications was served a summons for the

subscriber information for an IP address associated with activity from the Kik target accounts, and

more specifically, uploads of at least two files of CSAM and IP address 69.133.3.232, and three

different dates/times. On January 24, 2025, Charter Communications produced the requested

records. That IP address and the queried dates and times all came back to Seth SCHWERIN at 7

Summerplace Dr, Wapakoneta, OH 45895. The subscriber information contained three email

addresses, two of which were s.j.schwerin04@gmail.com, the email used for SCHWERIN’s Apple

account on his Apple iPhone, and schwerinseth@gmail.com, the email used to sign up for KIK

TARGET ACCOUNT 1. The phone number on the account was 567-525-1828, which belonged

to SCHWERIN’s live-in girlfriend. The MAC address was C03C049D3930, the same MAC



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address found on the router inside SCHWERIN’s home during the execution of the residential

search warrant.

                                  Review of Data and Records

       50.     After reviewing the Kik records/data, the IP records from Verizon, the IP

information from Charter Communications, the cached GPS data on SCHWERIN’s cell phone,

and the GPS data provided by SCHWERIN’s employer, David Buschur, Affiant was able to

confirm that there were 12 CSAM files distributed by KIK TARGET ACCOUNT 1, fundaddd08,

and one file of CSAM distributed by TARGET ACCOUNT 2, taste.ur.vag., in the Northern

District of Ohio (i.e., when the file upload occurred). They are listed below.

         a. On December 3, 2024, TARGET ACCOUNT 1, between 17:16-17:22 UTC,

             distributed four files to a group chat with multiple other users—two at 17:16 UTC,

             one at 17:18 UTC, and one at 17:22 UTC, but they are grouped here because they

             were sent using the same IP address and port. Thy were uploaded using Verizon IP

             174.196.123.76, port 3699, and Verizon records show that SCHWERIN’s phone

             number 419-231-2471 used Verizon IP 174.196.123.76, ports 3680-3711, on

             December 3, 2024, from 10:17-20:40 UTC. Thus, these files were uploaded from

             TARGET ACCOUNT 1 on a phone assigned SCHWERIN’s phone number. Cached

             on the phone was GPS coordinates for the date and times of the file uploads, all of

             which came back in this District. While he worked that day and was driving truck

             35, Buschur’s GPS data shows that truck 35 was at 402 Leon Pratt Drive,

             Wapakoneta, OH, at 17:16, 17:18 and 17:22 UTC, and thus, in this District at the time

             of the uploads.



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  b. On December 3, 2024, at 17:45 UTC, TARGET ACCOUNT 1, fundaddd08,

     distributed CSAM to another user—file name: 40f76ca8-4bf4-43b0-b132-

     0b71ce079e43, referred to earlier as IMAGE B, depicting a prepubescent minor,

     naked from the waist down, lying on her back with an adult erect penis pressed against

     her vagina. This image was uploaded from TARGET ACCOUNT 1 using Verizon IP

     174.196.123.76. While the port was not available in the KIK records or CyberTips,

     the IP addresses from the messages preceding and following the file upload were the

     same and had port number 3699. Verizon records reveal that 419-231-2471,

     SCHWERIN’s phone number, used that IP (174.196.123.76), ports 3680-3711, on

     December 3, 2024 from 10:17-20:40 UTC, to upload this file. Located on

     SCHWERIN’s phone were GPS coordinates corresponding with the upload date and

     time and that prove the file was uploaded in the Northern District of Ohio.

     SCHWERIN’s work schedule, as provided by Buschur, showed that he worked on

     December 3, 2024, and was in truck 35. On December 3, 2024, at 17:45 UTC, truck

     35 was at US-33, Wapakoneta, Ohio 45895, in the Northern District of Ohio.

  c. On December 3, 2024, at 20:25 UTC, KIK TARGET ACCOUNT 1 distributed to

     another user CSAM file 8019a198-5ec9-4053-9f08-83a73c0fad57, a one-minute-36-

     second video depicting a naked prepubescent minor on her elbows and knees facing

     away from the camera with her vagina and anus facing the camera. In the video, an

     adult female performs oral sex on the minor and stimulates and penetrates the minor

     with a sex toy. This image was uploaded from TARGET ACCOUNT 1 using Charter

     IP 69.133.3.232, port 53462. Charter records indicate that the subscriber and address

     for that IP and port number at the upload date/time is Seth SCHWERIN at his

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     residence (7 Summerplace Drive, Wapakoneta, OH 45895)—i.e., this file was

     distributed via the wireless internet at SCHWERIN’s residence. While his work

     records show he was working that day, they also show the Buschur truck he was

     driving parked at 402 Leon Pratt Drive, Wapakoneta, OH 45895, just a six-minute

     drive from his residence, for approximately one hour and 21 minutes from 20:00-

     21:22 UTC. Further, the GPS data from SCHWERIN’s phone itself proves that at

     approximately 20:25 UTC, his phone was at his Wapakoneta residence.

  d. On December 3, 2024, at 20:34 UTC, TARGET ACCOUNT 1 distributed to another

     user CSAM file 7e56940b-9841-4149-a2c5-cecaea9c0258, a 37-second video

     depicting a naked prepubescent minor with her face, breasts and vagina visible. In

     the video the minor female is sitting on the ground facing the camera with her legs

     spread. The minor female digitally stimulates and penetrates her vagina. This file was

     uploaded using Charter IP 69.133.3.232, port 53527. Charter records indicate that the

     subscriber and address for that IP address and port number at the upload date/time is

     Seth SCHWERIN at his Wapakoneta residence. Thus, this was distributed using the

     wireless internet at SCHWERIN’s residence and while work records show

     SCHWERIN was working that day, they also show that his truck that day was at 402

     Leon Pratt Drive, Wapakoneta, OH 45895 for approximately one hour and 21 minutes

     from 20:00 UTC to 21:22 UTC. Further, the cached GPS data from his cell phone

     shows that at 20:33 UTC (a minute before the file upload time), his phone was at GPS

     coordinates coming back to his nearby Wapakoneta residence.

  e. On December 3, 2024, at 21:16 UTC, TARGET ACCOUNT 1 sent another user

     CSAM file bbfa4d84-7144-491b-a38e-cc320ef25db0, a one-minute video depicting

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     a naked prepubescent minor’s face, breasts, vagina and anus visible, lying on what

     appears to be a bed with her legs spread, while she digitally stimulates and penetrates

     her vagina. This image was uploaded using Verizon IP 174.196.123.76, port 3752.

     Verizon records show that SCHWERIN’s phone number 419-231-2471 used the IP

     174.196.123.76, ports 3744-3775, on December 3, 2024 from 10:20-23:35 UTC,

     meaning that this file of CSAM was uploaded from TARGET ACCOUNT 1 on a

     phone assigned SCHWERIN’s phone number. Cached on the phone was a GPS

     coordinate for the date and time of the file upload that came back to the corner of

     Dixie Highway and Short Road in Wapakoneta, OH. This file was also uploaded

     during the time his Buschur truck was parked at 402 Leon Pratt Drive, Wapakoneta,

     OH (20:00-21:22 UTC), and GPS data from his phone places his phone approximately

     0.7 miles from the truck at 21:16 UTC and thus, in this District.

  f. On December 5, 2024, at 10:01 UTC, TARGET ACCOUNT 1 distributed two CSAM

     files using the same IP and port: (1) image file 023de793-3f3a-4a0e-aea1-

     8d156a3eec3a, depicting a prepubescent minor, naked, her face visible, sitting on a

     bed with her legs spread, and (2) image file 023de793-3f3a-4a0e-aea1-8d156a3eec3a,

     depicting two prepubescent minors, naked, sitting on what appears to be a blanket

     with their hands propping them up and their legs outstretched in front of them,

     lasciviously displaying their vaginas. These were distributed using Verizon IP

     174.219.212.255, port 2502, and Verizon records show that SCHWERIN’s phone

     number 419-231-2471, used that IP, ports 2496-2527, from December 4, 2024, 05:42

     UTC to December 6, 2024, 05:46 UTC, consistent with these files being uploaded

     from TARGET ACCOUNT 1 on a phone with SCHWERIN’s 419-231-2471 number.

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             The cached GPS coordinates on his phone demonstrate that these files were uploaded

             in this District. While Buschur records show SCHWERIN worked that day and drove

             truck 6, they also show that truck 6 was idling at 402 Leon Pratt Drive, Wapakoneta,

             OH, in this district, from 09:51-10:17 UTC.

        g. On December 5, 2024, at 13:13 and 13:14 UTC, TARGET ACCOUNT 1 sent two

             files to a group chat with multiple other users and did so using the same IP address

             and port. These files were uploaded using Verizon IP 174.219.212.255, port 1062.

             The images (file names f2859cee-7a26-4703-b727-a6ac3bdebfd0 and c3424da4-

             b4ba-44a8-8c42-b142f35542c2) depict a prepubescent child, lying down with her

             legs spread, with a focus on her vagina and anus but taken from different angles and

             with one zoomed in more. Verizon records show that SCHWERIN’s phone 419-231-

             2471 used that IP, ports 1056-1087, from 09:53-20:08 UTC, meaning these files were

             uploaded from TARGET ACCOUNT 1 on a phone assigned SCHWERIN’s number.

             Cached on his phone were GPS coordinates for the date/times of the file uploads and

             they came back to this District. Likewise, Buschur’s records show that SCHWERIN

             was working that day, he was driving truck 6, and truck 6’s GPS data showed it was

             not moving from 13:12-13:20 UTC and located at 402 Leon Pratt Drive in

             Wapakoneta.

       51.     KIK TARGET ACCOUNT 2, taste.ur.vag., distributed to another user on October

25, 2024, at 15:24 UTC file name 3d798129-b549-477d-be7b-2d6ac4c2a167, a 43-second video

depicting a prepubescent minor, naked from the waist down (other than an article of clothing

around her waist), lying on her back with her legs spread and her knees positioned outward and up

towards her head as an adult male penis repeatedly penetrates her vagina. This file was uploaded

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using Verizon IP 174.196.96.179, port 62821, and Verizon records show that SCHWERIN’s phone

number 419-231-2471 used that IP, ports 62816-62847, from October 24, 2024 at 16:52 UTC, to

October 29, 2024 at 13:07 UTC. Thus, these files were uploaded from TARGET ACCOUNT 2 on

a phone that was assigned SCHWERIN’s phone number.

              h. Forensic examination of SCHWERIN’s phone did not yield GPS coordinates at

                  the exact date and time of the file upload but there were GPS coordinates for

                  times in close proximity before and after the upload. At 14:38 UTC, 46 minutes

                  before the file upload, the phone’s GPS coordinates came back to Bellefontaine,

                  Ohio in the Southern District of Ohio. At 15:46 UTC, 22 minutes after the file

                  upload, the phone’s GPS coordinates showed that it was at 402 Leon Pratt Drive

                  in Wapakoneta in the Northern District of Ohio.

              i. SCHWERIN’s work schedule, as provided by Buschur, showed that he worked

                  on October 25, 2024, and was in truck 35. Buschur’s GPS data shows that truck

                  35 was moving and on State Route 65 in Wapakoneta.

              j. Buschur’s GPS data for truck 35’s entire route on October 25, 2024, shows that

                  truck 35 drove from Bellefontaine to Wapakoneta, consistent with

                  SCHWERIN’s phone being in Bellefontaine 46 minutes before the file upload.

       52.    Based on the above, Affiant submits that 13 CSAM files described herein were

distributed by one of the KIK TARGET ACCOUNTS in this District and that 11 of the CSAM

files were distributed on the Verizon Cellular network on a device with SCHWERIN’s phone

number (419-231-2471). In addition, there were two CSAM files distributed from the home

internet at SCHWERIN’s residence, and his phone’s GPS data showed that he was at his

Wapakoneta residence when those files were distributed.

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                        RELEVANT CONDUCT

 53.




 54.




 55.




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               b.



               c.




                                         CONCLUSION

       59.     Based on the foregoing, there is probable cause to believe SCHWERIN has

violated 18 U.S.C. §§ 2252(a)(1), transportation of a visual depiction of a minor engaged in

sexually explicit conduct; 2252(a)(2), receipt and distribution of visual depictions of minors

engaged in sexually explicit conduct; and 2252(a)(4)(B), possession of visual depictions of

minors engaged in sexually explicit conduct.

       60.     Accordingly, Affiant respectfully requests that the Court issue an arrest warrant

for Seth Jacob SCHWERIN.

                                                  Respectfully submitted,



                                                  Anthony Safford
                                                  Special Agent
                                                  Homeland Security Investigations


       Sworn to via telephone after submission by reliable
       electronic means on this ___WK day of March, 2025.
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                                nd 41(d)(3).


       _________________________________________
       DARRELL A. CLAY
       UNITED STATES MAGISTRATE JUDGE



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